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                                             UNITED STATES DISTRICT COURT
                                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,                    :      Criminal No. 09-878 (DRD)


                                                    Hon. Dickinson R. Debevoise, U.S.D.J.
              v.



JAMAL MUHAMMAD,                                             ORDER

                      Defendant,



       This matter having been brought before the Court on behalf of defendant Jamal Muhammad,

by his attorneys Michael V. Gilberti and Epstein, Cohen & Gilberti, LLC, on a motion for an Order,

changing Mr. Muhammad’s bail conditions based on the additional postponement ofhis sentencing;

and the government (Paul J. Fishman, United States Attorney, Anthongy Mahajan, Assistant U.S.

Attorney appearing) consenting; and the United States Pretrial Services having also consented; and

Mr. Muhammad having been compliant with all existing conditions; and good cause being shown,

       IT IS on this f( day of June, 2012,
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        ORDERED that the defendant’s motion is hereby granted, and the conditions of defendant

Jamal Muhammad’s bail are modified as follows:

       (1) Defendant shall be permitted to leave and be out of his residence from 6:00 a.m. to 11:30

p.m. every day;

        (2) Defendant shall be able to travel to New York City for purposes of obtaining goods and

wares from wholesalers for his sales business on Saturday and Sunday from 8:00 a.m. to 7:00 p.m.

        IT IS FURTHER ORDERED that all other terms and conditions of his current bail shall

continue in full force and effect.




                                      Hon. Dickinson R, Debevoise
                                      United States District Judge




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